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No. 4:21-CR-5-O CLERK, U.S. jo" COURT

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IN THE UNITED STATES DISTRICT COURT,
NORTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA

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THE BOEING COMPANY
Defendant

MOTION & SUPPORTING BRIEF OF AMICUS CURIAE ANTHONY KEYTER
(SENIOR BOEING INSTRUCTOR PILOT, RETIRED) REQUESTING COURT
NOT TO ACCEPT THE BOEING PLEA AGREEMENT

ANTHONY P. KEYTER
6200 SOUNDVIEW DR, R261
GIG HARBOR, WA 98335

JULY 25, 2024
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Appendices:
1. The Dossier of Crimes, Volume III, Chapter 42.1 (On CD)
2. Amicus Curiae Brief of Anthony Keyter (Docket #186)
3. Letter to Court, dated 2/10/23

STATUS AS BOEING CRIME VICTIM

Amicus Curiae / Prosecutor Qui Tam, Anthony Keyter, claims status under the Crime
Victim’s Act, 18USC3771 and claims ail the rights afforded under the Act, including
18USC3771(a)(1): the right to be reasonably protected from the accused; (a)(4) the right
to be reasonably heard at any public proceeding in the district court involving release,
plea, sentencing, or any parole proceeding; (a)(6) the right to full and timely restitution as
provided in law; (a)(8) the right to be treated with fairness and with respect for the
victim's dignity and privacy.

Anthony Keyter was a Senior Instructor Pilot for the Boeing Company for a
period of 17 years. At the end of that period, he suffered kidnap and murder attempts by

the Boeing Company (in conspiracy with certain government officials), as court witness
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and whistleblower to wrongdoing in the US Supreme Court, in case no. 05-140. (See the
Dossier of Crimes, Volume IH, Chapter 42.1.1). According to the FAA, the plot to
murder remains active today. Boeing committed numerous associated crimes, including
crimes against Anthony Keyter’s employ and his person. Those crimes are meticulously
detailed by Anthony Keyter as Prosecutor Qui Tam and have been filed with this Court
on February 13, 2023. The Boeing crimes have not yet been addressed by government
investigators or prosecutors because of the involvement of certain high government
officials. Flight safety warnings issued by Anthony Keyter as Senior Boeing Instructor
Pilot (now retired), which were simply ignored, led directly to further crimes of mass
murder in four completely avoidable air accidents, including the two Boeing 737 Max
accidents.

Boeing crimes perpetrated against Anthony Keyter, against the flying
public, and against the United States, that have yet to be dealt with by the judicial
system, include but are not limited to:

Fraud on a large scale ($250 billion); obstruction of justice, [SUSCI519;

theft of court record; tampering with a witness; retaliation against a

witness; contempt of court; perjury; conspiracy to commit offenses;

conspiracy to kidnap; conspiracy to murder; conspiracy against rights;
deprivation of rights; misprision of felony; treason; misprision of treason;
seditious conspiracy; insurrection against the laws; accessory after the

fact to offenses of their government co-conspirators as detailed in the

‘Dossier of Crimes’; crimes against humanity of mass murder in the death

of 507 people; crimes against humanity of other inhumane acts in the

grave injury of 189 innocent civilians.

These crimes are detailed in Chapter 42 of a Dossier of Crimes, which Chapter and the
complaints presented therein, have been filed with this court on 13 February 2023, and is

herewith filed again as Appendix 1. The crimes attest to a criminal corporate culture

existing at Boeing. The crimes directed against Anthony Keyter (as witness /

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whistleblower to Boeing wrongdoing / Prosecutor Qui Tam), give him status as crime

victim under the Crime Victim’s Act, 18USC3771.

MOTION REQUESTING THE COURT NOT TO ACCEPT
THE BOEING PLEA AGREEMENT

Amicus Curiae / Prosecutor Qui Tam, Anthony Keyter, respectfully moves the US
District Court for the Northern District of Texas NOT TO ACCEPT the Boeing Plea
Agreement in its present form, negotiated with the US Department of Justice on 7/24/24.
It would be a gross travesty of justice to single out and settle one count of fraud by
Boeing - while ignoring numerous other serious felonies, for example: mass murder of
507 and attempted murder of 189 others; attempted murder of a court witness /
whistleblower; ongoing stock exchange fraud of $249.88 billion; obstruction of justice;
and numerous other grave felonies, concealed by the government (but now filed with this
Court in the Dossier of Crimes, Volume IU, Chapter 42).

SUPPORTING BRIEF:

REASONS WHY THIS COURT SHOULD NOT ACCEPT
THE BOEING PLEA AGREEMENT

1. INTRODUCTION
The Boeing Company enjoys virtual impunity to criminal prosecution, afforded
by the United States Government. Boeing is a strategically important company for the
United States and therefore its officials are largely protected by the government, from the
consequences of their criminal wrongdoing. ‘That protection against prosecution for

crimes committed, can be seen in the January 7, 2021 Deferred Prosecution Agreement
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and in the complete lack of investigation and prosecution for the crimes listed above - the
complaints of which are in the hands of the US Department of Justice.

The Boeing Company violated the earlier Deferred Prosecution Agreement of 7
January 2021 to the detriment of not only the government, but also to the detriment of
several other harmed parties as well. Those other parties are: (a) the family members of
the 737 Max crash victims; (b) the Amicus Curiae, court witness, and whistleblower,
Anthony Keyter; (c) the American people (d) the international flying public; and (e) the
international investing public.

The Plea Agreement reached between the government and the Boeing Company
brings some restitution by way of a fine to the government, but to the government alone.
The Plea Agreement disregards criminal punishment of the guilty parties within Boeing
who have engaged in past and ongoing crimes — shamefully, with the knowledge of the
Department of Justice, who has mostly turned a blind eye to Boeing crimes. For that
reason, some crimes are continuing without respite and without restitution to the other
harmed parties. For the needed lessons and changes to be brought home to Boeing
Company criminal violators, and for the continuing crimes to be terminated and
restitution made to all suffering parties, rehabilitation and punishment of the guilty
persons needs to be exacted — either by prison time or personal plea agreement.

Thus, the Boeing Plea Agreement should be enhanced to include a plea agreement
with the Prosecutor Qui Tam Anthony Keyter for harm suffered; and plea agreements
with the other aggrieved parties as well, not covered by the agreement of the government

or that of the Prosecutor Qui Tam.

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2. RESTITUTION FOR FAMILY MEMBERS
IN TERMS OF MASS MURDER

The Boeing Plea Agreement only admits to one count of fraud for misleading US
regulators. This Court should not accept the Plea Agreement without there being a
satisfactory Plea Agreement with the families of the deceased, for the crime of mass
murder committed by Boeing against their loved ones. Restitution for family members
should be evaluated in terms of the mass murder charges filed with this Court on
February 13, 2023. Alternatively, this Court should appoint a special prosecutor where
the Department of Justice has refused to investigate and prosecute Boeing for the crime
of mass murder. See Appendix I, the Dossier of Crimes, Volume III, Chapter 42.1.8.
The flight safety warning presented in my Amicus Curiae Brief of 2/6/23 to this Court,
(attached as Appendix 2) is repeated with earnest:

Flight Safety Warning:

Four common causes, stemming from the Boeing Company, have caused
the death of 507 people and grave injury to another 189 in the preventable
air accidents of Lion Air Flight 610, Ethiopian Airlines Flight 302; Asiana
Flight 214, and Air India Flight IX-812. Many more innocent people will
die needlessly in inevitable aircraft or spacecraft accidents on Boeing
aircraft/spacecraft, attributable to these same avoidable causes:

o Unless the ongoing criminality within the Boeing Company and its
US Government co-conspirators is addressed and terminated. (See
the Dossier of Crimes).

o Unless the impunity offered by the US Government to the Boeing
Company, for crimes committed, is ended forthwith.

o Unless the Boeing Company’s culture of ‘extreme indifference to
human life’ is reigned in and eradicated for good. (See major
contributory causes by Boeing in the accidents of Lion Air Flight
610, Asiana Flight 214, and Air India Flight IX-812.)

o Unless Boeing’s corporate culture of putting its financial interests
Jirst, well before flight safety considerations, is once and for all
eliminated in full. (See criminal charges in the Dossier of Crimes,
Volume HI, Chapter 42).
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3. RESTITUTION FOR THE AMERICAN PEOPLE

The Boeing Plea Agreement only admits to one count of fraud for misleading US
regulators, despite many more ongoing crimes. This Court should not accept the Boeing
Plea Agreement without simultancously addressing the other ongoing crimes — addressed
by trail or by plea agreement. Restitution and punishment, flight safety, and protection of
the laws for the American people, should be evaluated by this Court in terms of the
charges of ‘ongoing crimes’ being perpetrated by the Boeing Company, as filed with this
Court by the Prosecutor Qui Tam on February 13, 2023; and updated on May 15, 2024.
See Appendix 1, the Dossier of Crimes, Volume III, Chapter 42.1.17. This can be dealt
with in the potential plea agreement with the Prosecutor Qui Tam. Alternatively, this
Court should appoint a special prosecutor or appoint the Prosecutor Qui Tam to prosecute
Boeing, where the Department of Justice and SEC have refused to investigate and
prosecute Boeing for the ongoing crimes presented in Appendix 1.

4, ATTEMPTED MURDER OF ANTHONY KEYTER AS COURT
WITNESS/ WHISTLEBLOWER/ PROSECUTOR QUI TAM

The Boeing Plea Agreement only admits to one count of fraud for misleading US
regulators, ignoring all other crimes. This Court should not accept the Plea Agreement
without there being a plea agreement reached with Prosecutor Qui Tam, Anthony Keyter,
for the following unaddressed crimes committed by Boeing against him:

Attempted kidnap and murder; obstruction of justice, I8USC1519, theft of
court record; tampering with a witness; retaliation against a witness;
contempt of court; perjury; conspiracy to commit offenses; conspiracy to
kidnap; conspiracy to murder; conspiracy against rights; deprivation of
rights; misprision of felony; seditious conspiracy; accessory after the fact
to offenses of their government co-conspirators as detailed in the ‘Dossier
of Crimes’.
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As Prosecutor Qui Tam, Anthony Keyter has offered such plea agreement to this Court in
his letter dated 2/10/23 in the paragraph titled “An Alternate Solution”. (Copy enclosed
as Appendix 3). Alternatively; this Court should appoint the Prosecutor Qui Tam or a
special prosecutor to prosecute Boeing, where the Department of Justice has refused to
investigate and prosecute Boeing for these crimes. See Appendix 1, the Dossier of
Crimes, Volume III, Chapter 42.1.
5. $249.88 BILLION STOCK EXCAHNGE FRAUD
The Boeing Plea Agreement only admits to one count of fraud for misleading US
regulators, ignoring Boeing’s massive and ongoing stock exchange fraud. This Court
should not accept the Plea Agreement without Boeing admitting to, terminating, and
correcting their $249.88 billion stock exchange fraud on the New York Stock Exchange,
the Nasdaq, and the London Stock Exchange. This issue can and should be dealt with in
the potential plea agreement with the Prosecutor Qui Tam. Alternatively, this Court
should appoint the Prosecutor Qui Tam or a special prosecutor to prosecute Boeing where
the Department of Justice and SEC has refused to investigate and prosecute Boeing for
their immense stock exchange fraud. That fraud forms part of $1.42 trillion stock
exchange fraud as presented in Appendix 1, the Dossier of Crimes, Volume III, Chapter
42.1.16b. When this massive fraud comes to light, as inevitably it must, it will likely
destabilize the financial markets and bring great loss and suffering to many investors
worldwide. This Court has the unique capability and responsibility to prevent that

harmful impact upon the financial markets and must act judiciously on this knowledge.
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6. CONCLUSION

Boeing’s criminal corporate culture adversely affects: Boeing shareholder(s) and
future investors; the life and safety of the flying public; the life and safety of the
Prosecutor Qui Tam Anthony Keyter; the public perception of an arbitrary judicial
system in the United States; and the standing of the United States in the eyes of the
international public. These facts have been acutely demonstrated in the two recent
Boeing 737 Max crashes and the concomitant death of 346 people; and demonstrated in
the ongoing murder plot of Anthony Keyter which has recently been confirmed by the
FAA still to be active today - with the criminal culpability of the Boeing Company
therein.

The Boeing Company’s criminality continues unabated. This Court should ensure
that all aspects of that criminality is addressed, confessed to, and terminated before
accepting any Boeing Plea Agreement. Again, the Amicus Curiae / Prosecutor Qui Tam
Anthony Keyter, is of the firm belief that the arrest and incarceration of the Board of
Directors and certain Executives, could serve to terminate the ongoing criminality and
could change for the better, the entrenched criminal corporate culture of the Boeing
Company. In the alternative, plea agreements that address all Boeing’s known crimes
could be made, addressing the concerns and interests of all the harmed parties and the
safety and security of the international flying and investing public, alike.

On the other hand, willfully failing to address the criminality filed with this Court
in Appendix I (addressed either by comprehensive plea agreements with all parties
concerned or by trial and the just application of the laws), this Court will take full

responsibility and culpability for (a) the impending impact of Boeing’s stock exchange
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fraud upon the international financial markets; (b) further attempts by Boeing upon the
life of a Boeing whistleblower; and (c) lives lost in further air accidents ascribed directly
to Boeing’s ongoing criminal corporate culture and extreme indifference to human life.
Hear me, this time.
Respectfully Submitted,

Weg

Anthony P. Keyter
Amicus Curiae
Prosecutor Qui Tam

APPENDIX 3

Anthony Keyter
6200 Soundview Drive, R201
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February 10, 2023

Judge Reed O’Conner

US District Court

501 West 10" Street, Room 310
Fort Worth, TX 76102-3673

Dear Judge O’ Conner,

RE: Case No, 4:21-CR-5.
Dealing with Boeing Company Criminality

I am a (retired) Senior Instructor Pilot of the Boeing Company. However, I approach you

in my present role as International Prosecutor Qui Tam in the ‘Boeing Company murder
case’.

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Following my Amicus Curiae Brief filed with the Court on February 6, 2023, I follow up
on that ‘Brief? by providing additional information and reporting additional crimes
committed by the Boeing Company which do not fall under the category of breaches of
Court Order, but which are ‘past crimes’ which have not been addressed or tended to by
the authorities.

Because these earlier crimes perpetrated by the Boeing Company have been ‘swept under
the carpet’ by the DOJ, the FBI, and by other state or federal government departments
notified of the crimes, and because the acts still pose danger to human life today, I have
pursued the matter as Prosecutor Qui Tam on behalf of the United Sates and on my own
behalf. This route has been taken in an effort to secure the safety of the international
flying public, as well as to secure my own safety from further retaliation by Boeing
against my testimony. In addition, I continue to pursue the charges against the Boeing
Company pursuant my duties under statute 18USC4.

In conjunction with this letter, I will file a series of ‘Affidavits of Complaining Witness/
Criminal Complaints’ with this Court against the Boeing Company for the Court’s
deliberation and actions under statutes 18USC3046 and 18USC3060, and Rules 4 and 41
of the Federal Rules of Criminal Procedure. The Affidavits establish strong cause to
believe offenses have been committed and that the Boeing Company, through its
officials, has committed them. The Criminal Complaints constitute part of Chapter 42 of
Volume III of a tome titled the Dossier of Crimes, compiled by me as Prosecutor Qui
Tam.

Boeing’s Criminal Corporate Culture

The Boeing Company is the world’s largest airplane manufacturer, together with Airbus,
and America’s biggest exporter. Boeing is an innovative company and is commercially
and technically astute. It is on the forefront of new aviation and space technology. The
company adds much to America’s prestige internationally. However, none of these
positive attributes can warrant the sacrifice of human life.

For all that the Boeing Company has achieved, for all that it symbolizes for the United
States, the company has a thoroughly criminal corporate culture today and has had for a
number of years. In terms of that criminal culture it subjugates all technical
considerations or flight safety considerations to profit motive. When an issue strongly
impacts the company’s profits, it very often sacrifices flight safety in favor of
profitability. These fully implemented, active, constructive decisions by the company’s
board and executives do from time to time result in flying accidents and death and injury
on a large scale.

In particular I refer to the Boeing Company’s repeated actions of ignoring or concealing
flight safety warmings and of deliberately withholding pertinent technical and safety
information from pilots, all with an aim to save costs and enhance profits. Such actions
by the Boeing Board and Executive Council can be termed callous indifference to human
life - and ‘criminal’ acts. Those actions have played a major role in air accidents and
injuries and death, and that is the case in the four air accidents mentioned in my Amicus

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Curiae Brief of February 6, 2023, namely: The Boeing MAX accidents of Lion Air
Flight 610 and Ethiopian Airlines Flight 302; the Boeing 777 crash of Asiana Flight 214
at San Francisco; and the Air India Express IX-812 accident in Mangalore, India. Some
507 people died in these four avoidable accidents and another 189 suffered grave injuries.

Where Boeing manifested an extreme indifference to human life and engaged in conduct
which created a grave risk of death to persons, and thereby caused the death of persons,
such conduct is considered murder in the first degree under the Revised Code of
Washington State RCW 9A.32.30(1)(b), where Boeing Commercial Aircraft is
domiciled.

Other aspects of Boeing’s criminal corporate culture include inter alia, massive fraud on
three stock exchanges in the amount of $249.88 billion, obstruction of justice, retaliation
against witnesses to Boeing crimes, and attempted kidnap and murder of a prime witness.
These Boeing Company crimes are detailed in the enclosed affidavits from Chapter 42 of
Volume III of the Dossier of Crimes.

But the Boeing crimes did not and do not take place in a vacuum. They are perpetrated
with the knowledge and consent of institutions and of high officials of the United States
Government. And therein lies the reason why the Boeing Company enjoys total impunity
from criminal prosecution and literally gets away with murder.

I am an aviation professional who has spent my life and career with flight safety as a
primary concern. As former Senior Instructor Pilot for the Boeing Company for 17 years
(now retired), I have through many years witnessed the Boeing Company’s criminal
corporate culture at work and have myself suffered under that criminality for my
extensive efforts to correct and terminate that criminality, with aim to prevent accidents.

Boeing / US Government Criminal Conspiracy

Boeing has enjoyed total impunity against prosecution because the company and its
manufacturing has such strategic value to the United States, to United States airlines, to
the US armed forces, and to its space program; and also, because of its prestige
worldwide. But there is another hidden reason for that impunity, a reason that is equally
important as any of the former mentioned reasons. That is, that Boeing is a criminal
partner in US Government crimes, and vice versa: the US Government is a partner in
Boeing crimes. This will be discussed below. As such, Boeing has powerful blackmail
potential upon the US Government and in particular the FAA - strong enough blackmail
capability to enable the company to escape prosecution for murder and attempted murder.
As this Court endeavors to bring justice upon the Boeing Company and its officials, it
should take cognizance of that influence and blackmail potential possessed by the Boeing
Company.

Boeing as agent of US Government Crime

During February 2006, the Boeing Company (my employer at the time) facilitated an
attempt to kidnap and murder me. The attempt was carried out at the behest of and on
behalf of a senior US Government official, President George W. Bush. The execution of

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that plot commenced in the US Supreme Court in case number 05-140, in retaliation for
filing criminal charges against the President for theft of court record in the case. The plot
unfolded through the offices of the White House, the Department of Justice including the
FBI, the Federal Aviation Administration, and the Boeing Company. As my employer at
the time, Boeing was offered a lucrative contract to facilitate the malicious murder
attempt. Prioritizing profits over morality and lawfulness, the Bocing Board acquiesced
to the malevolent request.

The murder attempt was recognized and identified early enough to be foiled, but it left
the US Government indebted to the Boeing Company - a criminal debt which Boeing has
exploited ever since. A considerable amount of detail of events and evidence of the
kidnap attempts remain available to serious investigators. Although reported to the
authorities, there has never been an investigation into the reported events because of the
criminal involvement of those very same institutions and high government officials
therein.

US Government as Partner in Boeing Crimes

In return, as example, the US Government is a crucial partner in Boeing’s part of an
ongoing scheme of $607 billion worth of stock exchange fraud. Boeing’s part in that
massive fraud scheme being $249.88 billion. Boeing cannot get away with that fraud
without the full participation of the Securities and Exchange Commission (SEC), the
DOJ, the FBI, and President Biden and his Cabinet. All of them have been advised of
the $249.88 billion fraud and were requested to take action on several occasions. And
none have acted and thus the fraud continues day after day and the potential loss to
shareholders and prospective shareholders remains immense.

The fraud case, the attempted murder incident, the cover up thereof, and the safe haven
and passage offered to the Boeing Company despite heinous crimes, disqualifies the
DOJ and FBI from unbiased investigation and prosecution of the Boeing Company for
these and any other crimes. As active co-conspirators in the fraud, as co-conspirators in
the cover-up of the kidnap and murder attempts, as co-perpetrators in the Boeing mass
murder case, it would be untenable in law for these institutions or officials to investigate
and prosecute their own crimes.

There are plenty of other examples that show the criminal conspiracy between Boeing
and the US Government, and show the government’s protection (from prosecution) of
this company and/or its officials. The DOJ statement after the $2.5 billion fine upon
Boeing, levied for the 737 MAX fraud conspiracy, is another example of that protection
of Boeing officials. To quote the DOJ: “This resolution holds Boeing accountable for its
employees’ criminal misconduct...”. What a travesty of justice, holding an inert
company responsible for the criminal conduct of employees - having Boeing
shareholders pay that $2.5 billion fine, while those employees who committed the crimes
are allowed to go scot-free.

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Role as Prosecutor Qui Tam

{ have taken up the role as prosecutor qui tam, internationally, on behalf of the people of
the United States, on behalf of the international flying public, and on my own behalf:
where the law-enforcement institutions of the United States have refused to investigate
and prosecute Boeing; and/or where they are legally disqualified in law from
investigating and prosecuting themselves and their Boeing ‘co-conspirator in crime’; and,
where the Boeing/US Government crimes have continued unabated; and where the trap
set for my kidnap and murder ts kept firmly in place by both Boeing and the US
Government,

I include prosecution “on my own behalf’, since I have experienced a deprivation of
rights and conspiracy against my rights, perpetrated by the US Government acting in
concert with Boeing, in the crime of attempted kidnap and murder. Simply, I have been
deprived of the fundamental constitutional rights to “due process of law and protection of
the laws’. Statute 42USC1985(3), addressing conspiracy to interfere with civil rights,
allows, quote: “the party so injured or deprived may have an action for the recovery of
damages occasioned by such injury or deprivation, against any one or more of the
conspirators”.

The Court’s Dilemma

The prosecution dilemma faced by the United States and its Attorney General and US
Attorneys, and also faced by the US District Court for Northern Texas, is that the Boeing
Company is of great strategic value to society, to the military, to space operations, and to
commercial aviation. That certainly is one reason why Boeing and its officials enjoy
impunity against criminal prosecution and jail time; and why the government refuses to
prosecute Boeing officials. Fines, no matter how large, have had no effect upon Boeing’s
criminal corporate culture. That culture endures intact.

Prosecuting the plethora of serious crimes committed by Boeing and its top officials will,
in all honest application of the laws, bring the company down. Seemingly, nobody wants
to cause that likelihood. On the other hand, none of the positive assets to the country and
to society warrant the sacrifice of human life at the hands of a callous and corrupt
airplane manufacturer bent on profits; and at the hands of a US Government who is a
‘partner in crime’ to a corrupt company. That excruciating sacrifice of 507 people and
injury to 189, has been witnessed over several years and four avoidable air accidents.
Seemingly, this dilemma has no solution: Boeing Leadership demonstrating an extreme
indifference to human life - and a US Government hell-bent on protecting Boeing and its
officials from criminal prosecution.

Yet, as prosecutor qui tam, who has observed and studied the Boeing matter over the past
17 years, 1 can see and can suggest a very practical and effective solution to the dilemma.
An effective solution that will ensure rehabilitation of the Boeing leadership and their
corporate culture; and at the same time will save the company from certain demise.

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An Alternate Solution

In the absence of FBI investigation and DOJ prosecution, and in their absence of any
legal standing to investigate and prosecute, acting as prosecutor qui tam, J can offer the
Boeing Board and Executive Leadership a plea agreement that is specifically aimed at
correcting and rehabilitating personal errors and group errors (company errors); and
aimed at an education program to prevent this situation from ever re-occurring. Such a
plea agreement will endeavor to save the Boeing Company from its own self-destruction,
while transforming its morals and modus operandi. Elements of the agreement would be
paying a fine as restitution; community service for a time and in a position of maximum
benefit to society internationally; correction of personal errors and not just company
errors; and rehabilitation of the corporate culture in favor of a more moral and benevolent
Boeing Company.

The proceeds of the fines are to be directed to a foundation and through that foundation to
international community service — with aims, in part, to prevent these types of situations
from re-occurring. For the sake of confidentiality, all elements of the proposed plea
agreement are not mentioned in this letter, but can willingly be discussed with the Court
in a more secure setting if there be interest in pursuing this route.

Such plea agreements have already been prepared by me as Prosecutor Qui Tam for the
various levels and groups of Boeing officials implicated in the accompanying criminal
charges. The plea agreements stand ready to be implemented upon the admission of guilt
and upon the willingness of the individual perpetrators themselves, and of the company,
to enter such free-will agreement. As prosecutor qui tam, as 17-year veteran of the
Boeing Company at managerial level, I am prepared to play a leading role in monitoring
the execution of the plea agreements, under the auspices of this Court or any other United
States Court.

Boeing will not be able to hide and cover-up its heinous criminal conduct for much
longer. For example, an unverified report states that the UK Head of State, King Charles,
has requested that the company stop trading its shares on the London Stock Exchange.
Other likely consequences will follow. Fundamentally, what is at stake, should Boeing
acknowledge its crimes publicly and take up the plea agreement (thereby enforcing
rehabilitation), is a brighter, productive, law-abiding future for the Boeing Company.
Alternatively, should Boeing fail to subject itself to rehabilitation through the plea
agreement, what lies immediately ahead is the disgrace and death of the company and the
concomitant incarceration of many of its top officials for crimes against humanity. The
future existence of the company depends entirely upon the rehabilitation of Boeing
officials. Those Directors, Executive Council members and other officials implicated,
who fail to show conscience, good faith, and a willingness to rehabilitate, should face the
full force of United States law for their crimes detailed in the criminal complaints listed
below. The crimes must not be allowed to continue.

It is an extra-ordinary situation in the judicial history of the United States involving one
of its leading manufacturers in serious joint criminality with the government, including

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crimes against humanity of mass murder. This one-of-a-kind situation requires a wise
but unique judicial solution.

If the DOJ attempts to prosecute without legal standing and with culpability in the very
same crimes, it will serve to perpetuate the joint criminality. If a special prosecutor
outside the DOJ prosecutes, it will take years to come up to speed with investigation and
the proper findings on 17 years of criminality involving the Boeing Company. Boeing
will not survive the attendant public scrutiny over years of special prosecutor
investigations and the court case itself.

As former test pilot, Boeing instructor pilot, and as prosecutor qui tam, I know the facts,
the case, the company, the subject matter of aviation, and have a good working
knowledge of the law. If this Court is willing to join forces and to collaborate in pursuit
of rehabilitation of the Boeing Company and its officials, it is my belief that justice may
be best served for all concerned. Justice will be seen to be served, in this particular
‘alternate judicial solution’ of plea agreement with the prosecutor qui tam.

In addressing the contempt of court violations exhibited by Boeing and its officials (as
demonstrated in my Amicus Curiae Brief of February 6, 2023), it would not be improper
to arrest the Boeing CEO and perhaps other Directors and Executive Council members,
for their breach of this Court’s order. That would present suitable occasion for Boeing
offenders to give consideration to the consequences produced by their entire criminal
endeavor over the past 17 years, and occasion to consider admission of guilt and a plea
agreement with the Prosecutor Qui Tam.

Should the Court be willing to consider the inimitable alternate solution to the Boeing
criminal matter and criminal complaints sent separately, then as Prosecutor Qui Tam |
would be pleased to meet for further discussion on the form and details of potential
cooperation.

If the Court is not amenable to the suggested alternate solution, as a courtesy kindly
advise me as Prosecutor Qui Tam, what other actions have been taken, if any, to address
the criminal complaints against the Boeing Company and its officials, sent separately to
the Court.

Sincerely,

Mes”
Anthony Keyter

Sent separately to the Clerk of the Court:
List of Criminal Complaints sent separately to the Court — the Dossier of Crimes, Vol
TH:

1. Chapter 42.1.1 - Date 11.6.06. Conspiracy to kidnap plus 13 other offenses.

2. Chapter 42.1.2 - Date 10.11.09. Obstruction of Justice plus 15 other offenses.

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Case 4:21-cr-00005-O Document 225 Filed 07/29/24 Page17of24 PagelD 4069

Chapter 42.1.4 — Date 1.8.12. Retaliation against a Witness, plus 5 other offenses.
Chapter 42.1.6 ~ Date 2.15.14. Witness Tampering.

Chapter 42.1.8 — Date 3.21.21. Consolidated Boeing Company Mass Murder
Case.

Chapter 42.1.9 — Date 6.7.21. Boeing Investors Fraud,

Chapter 42.1.10 — Date 8.3.21. Boeing Directors Fraud.

Chapter 42.1.11 — Date 10.17.21. Boeing/ US Government Obstruction of Justice.
Chapter 42.1.12 — Date 11.30.22. Boeing/ UK Government Fraud.

10. Chapter 42.1.16 — Date 1.27.23. Consolidated Case: $607 Billion Fraud

11. Chapter 42.1.17 — Date 2.13.23, Ongoing Criminal offenses.

wm

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Case 4:21-cr-00005-O Document 225 Filed 07/29/24 Page18o0f24 PagelD 4070

CERTIFICATE OF SERVICE
I hereby certify that on this 25" day of July 2024, a true and correct copy of this Motion
and Supporting Brief was served on the following counsel for the parties:

United States Attorney:
Burnett Plaza, Ste 1700

801 Cherry Street, Unit #4
Fort Worth, Texas 76102-6882
USATXN.USA@usdoj.gov

Defendants: C/o

CEO David L. Calhoun
Corp. Secretary John Demers
Boeing Corporate Offices
929 Long Bridge Drive
Arlington, VA 22202

david.1.calhoun@boeing.com;
john.demers(@boeing.com;

Ralph Dado and John Lausch
Kirkland and Ellis

333 West Wolf Point Plaza
Chicago, II 60654
talph.dado@kirkland.com
john. lausch@kirkland.com

Respectfully Submitted,

Meg

Anthony P. Keyter

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Anthony Keyter
6200 Soundview Drive, R201
Gig Harbor, WA, 98335
Tel: 253-8533859
Email: akeyter@centurytel.net

July 25, 2024
US District Court
501 West 10" Street, Room 310
Fort Worth, TX 76102-3673
The Clerk,
Re: Filing in Case No. 4:21-cr-5-O
Enclosed find a Motion and Support Brief, ‘Requesting Court not to Accept the Boeing Plea
Agreement’ in criminal case number 4:2/-CR-5-O, together with Appendices and the
‘Certificate of Service. Thank you.
Sincerely,

Weg”

Anthony Keyter

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Case 4:21-cr-00005-O Document 225 Filed 7/29/24 Page 21o0f24 PagelD 4073

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The Clerk /

US District Court a
501 West 10% Street, Room 310

Fort Worth, TX 76102-3673

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